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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF MICHIGAN
                                    NORTHERN DIVISION



 UNITED STATES OF AMERICA,

               Plaintiff,                                  Case No. 2:13-mj-05

 v.                                                        HON. TIMOTHY P. GREELEY

 KRISTEN ELLEN BERGERON,

            Defendant.
 _________________________________/


                                    ORDER OF DETENTION


               Defendant Kristen Ellen Bergeron appeared before the undersigned on April 24, 2013,

on a complaint alleging charges of Conspiracy to Distribute and Possess with Intent to Distribute

MDPV, a Schedule I controlled substance, and Conspiracy to Distribute and Possess with Intent to

Distribute Alpha-PVP, a controlled substance analogue. The government filed a motion for

detention on April 26, 2013. A detention hearing was scheduled for May 9, 2013, at which time

defendant Bergeron indicated she was waiving her right to a detention hearing. Accordingly, the

government's motion is granted and IT IS HEREBY ORDERED that the defendant shall be detained

pending further proceedings.

               IT IS SO ORDERED.



Date: May 21, 2013                                           /s/ Timothy P. Greeley
                                                            TIMOTHY P. GREELEY
                                                            United States Magistrate Judge
